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                 IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON                   MDL No. 2738 MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Danny Pardue, Individually and as
  Successor-in-Interest and Anticipated
  Personal Representative of the Estate
  of Carolyn C. Pardue, deceased v
  Johnson & Johnson, et al.
  CAFN: 3:25-cv-04182


                               NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of

  Short Form Complaints) that the Short Form Complaint and Jury Demand was

  filed May 13, 2025 on behalf of Plaintiff Danny Pardue, o/b/o Carolyn C. Pardue,

  deceased.

                                          / s/: M. Brandon Smith
                                          M. Brandon Smith
                                          Childers Schlueter & Smith LLC
                                          Georgia Bar No. 141418
                                          1932 N. Druid Hills Road, Suite 100
                                          Atlanta, GA 30319
                                          404-419-9500- office
                                          bsmith@cssfirm.com
                                          Counsel for Plaintiff
  Dated: May 13, 2025
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                                       266267



                            CERTIFICATE OF SERVICE

         I hereby certify that on May 13, 2025 a copy of the foregoing NOTICE OF
  FILING was filed via the Court’s CM/ECF electronic filing system. Notice of this
  filing will be sent by operation of the Court’s electronic filing system to all parties
  indicated on the electronic filing receipt. Parties may access this filing through the
  Court’s system.
                                          / s/: M. Brandon Smith
                                          M. Brandon Smith
